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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO



   Civil Action No. 1:17-cv-01102-WJM-STV

   BELLWETHER COMMUNITY CREDIT UNION, et al.,

           Plaintiffs,

      v.

   CHIPOTLE MEXICAN GRILL, INC.,

           Defendant.


                         MOTION TO DISMISS AND BRIEF IN SUPPORT
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                                           MOTION

          Pursuant to Federal Rules of Civil Procedure 12(b)(1) and (6), Chipotle Mexican

   Grill, Inc. moves to dismiss plaintiffs’ consolidated complaint, D.E. 42, (Compl.) in its

   entirety and with prejudice. Specifically, Bellwether lacks standing to assert Counts five

   through eight and ten, and all claims asserted by plaintiffs fail to state a claim on which

   relief can be granted. The grounds for this motion are set forth in the following brief.

                              CERTIFICATE OF CONFERRAL

          Pursuant to the Court’s practice standard, counsel for the parties discussed this

   motion on January 3, 2018. For the reasons explained below, the defects Chipotle

   identifies are legal defects that cannot be cured through amendment. Plaintiffs’ claims

   fail as a matter of law, and should be dismissed with prejudice.

                                    BRIEF IN SUPPORT

                                        INTRODUCTION

          Chipotle was attacked by cybercriminals in early 2017. Plaintiffs allege that these

   criminals potentially accessed credit- and debit-card information of Chipotle patrons.

   Plaintiffs are not Chipotle customers. Instead, they are two credit unions who issue

   credit or debit cards to persons who bank with them. Plaintiffs claim that some of their

   customers purchased a meal from Chipotle using a card during the cyberattack. They

   seek to recover expenses that they allegedly incurred issuing new cards to these

   customers and reimbursing them for fraudulent charges.

          The Court should dismiss the complaint. First, plaintiffs’ negligence claims are

   barred by the economic-loss rule. A series of interrelated contracts governs the

   allocation of fraud risks for businesses participating in the payment-card networks. The




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   economic-loss rule bars plaintiffs from undermining those agreements to seek more

   monetary relief in tort than is permitted through those contracts.

          Plaintiffs’ misappropriation of trade secrets claim also fails as a matter of law.

   Chipotle did not misappropriate anything when a cybercriminal attacked its systems,

   and a sixteen-digit series of numbers that is provided on purpose to third parties every

   time a customer makes a purchase is not a trade secret.

          Finally, plaintiffs’ consumer-fraud claims fail for a variety of reasons. Bellwether

   lacks standing to assert all but one of its consumer-fraud claims—that is, under New

   Hampshire law where the bank is located. And more importantly, plaintiffs are

   sophisticated businesses, not consumers. Plaintiffs’ consumer-fraud claims fail on their

   merits for this reason, as well as a host of others.

                                      STATEMENT OF FACTS

          Chipotle is a Denver-based restaurant chain. As do virtually all businesses,

   Chipotle accepts credit and debit cards from the major card brands as payment.

   Plaintiffs are two credit unions located in New Hampshire and Arkansas. (Compl. ¶¶ 9-

   10.) They issue Visa or MasterCard credit or debit cards, sometimes referred to as

   “payment cards,” to their customers. An interrelated series of contractual relationships

   allows the holder of any Visa- or MasterCard-branded payment card to purchase goods

   and services from millions of merchants around the world.

          Visa and MasterCard operate what are known as payment-card networks. (See

   generally Visa Core Rules and Visa Product and Service Rules, excerpts attached as Ex.

   A; MasterCard Rules, excerpts attached as Ex. B.) Financial institutions can join these

   networks as “issuing” or “acquiring” banks (and in some cases, both). (Compl. ¶ 116.)

   Plaintiffs are “issuing banks,” meaning that they issue payment cards. (Id. ¶ 16.)


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   “Acquiring banks” are on the other side of the transaction—they contract with a

   merchant so that the merchant may accept credit and debit cards as payment, regardless

   of what bank issued the card. (See Visa Rules §§ 1.5.2.1, 1.5.4.2; MasterCard Rules §§

   1.1.1, 5.1, 5.10.1.)

           When a customer uses a card to pay a merchant, the proposed purchase is

   instantaneously routed to the merchant’s acquiring bank through the relevant network

   to the issuing bank and back again. (Compl. ¶ 83.) If the issuing bank confirms that the

   account has sufficient funds and is not otherwise frozen, the transaction is approved,

   and the customer purchases the goods or services. (Id. ¶ 116.) Later, the issuing bank

   pays the acquiring bank on its customer’s behalf, and the merchant is reimbursed (less

   the fee it pays to accept payment cards) by the acquiring bank. (Id.)

           Each card brand governs this process through rules it issues. (Id. ¶ 96.) These

   rules bind all participants in the payment-card networks through a series of interrelated

   contracts. Issuing and acquiring banks contract with the card brands, while merchants

   contract with their acquiring banks. (See MasterCard Rules p.8 & §§ 4.1, 5.1, 6.1; Visa

   Rules §§ 1.1.1.1, 1.5.2.1.) The rules require participants to maintain certain levels of data

   security. (Compl. ¶¶ 97-99.) But they also allocate the various parties’ rights and

   obligations in the event of a cyberattack.

           Specifically, issuers such as plaintiffs must guarantee their customers zero

   liability for fraudulent transactions. (Visa Rules § 4.1.13.3; MasterCard Rules § 6.3.) In

   turn, issuers may seek reimbursement from the card brands for their expenses in doing

   so. (Visa Rules § 10.10.1.1; MasterCard Sec. Rules & Proc., attached as Ex. C, § 10.2.5.3.)

   Assessments levied against the breached entity’s acquiring bank fund the




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   reimbursements, and the merchant will generally indemnify the acquiring bank. See,

   e.g., Schnuck Markets, Inc. v. First Data Merch. Servs. Corp., 852 F.3d 732, 736 (8th

   Cir. 2017) (addressing amount of indemnification owed by merchant to acquirer).

          Chipotle suffered a cyberattack in early 2017. Forensic investigators identified

   signs of the operation of unauthorized files on certain Chipotle systems used to process

   payment-card transactions between March 24 and April 18, 2017. (Compl. ¶ 31.)

   Plaintiffs allege that their customers used payment cards at Chipotle during this time

   period, and that they incurred expenses investigating issues related to the cyberattack

   and reissuing cards or reimbursing fraudulent charges. (Id. ¶¶ 9-10.)

                                            ARGUMENT

   I.     Standard of Review.

          To survive a Rule 12(b)(6) motion, the “complaint must contain sufficient factual

   matter, accepted as true, to state a claim for relief that is plausible on its face.” Bixler v.

   Foster, 596 F.3d 751, 756 (10th Cir. 2010) (quotation omitted). The same standard

   applies to facial challenges under Rule 12(b)(1). See Lujan v. Defs. of Wildlife, 504 U.S.

   555, 561 (1992) (standing must be supported “with the manner and degree of evidence

   required at the successive stages of the litigation”).

          To determine if plaintiffs meet the Rule 12 standard, the Court may consider the

   attached card-brand rules without converting the motion into a motion for summary

   judgment because plaintiffs reference these rules in their complaint to establish

   Chipotle’s alleged liability. (See Compl. ¶ 96.); Alvarado v. KOB-TV, L.L.C., 493 F.3d

   1210, 1215 (10th Cir. 2007) (“[C]ourt may consider documents referred to in the

   complaint . . . central to the plaintiff’s claim.”); see also Bernard v. Britton, 2015 WL

   753527, at *3 (D. Colo. Feb. 20, 2015) (same). The attached card-brand rules are


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   excerpts of the rules in effect during the relevant time period. These rules are publicly

   available on the card brands’ websites.

   II.     The Colorado Economic-Loss Rule Bars Plaintiffs’ Negligence Claims.

           A.      Colorado law applies to plaintiffs’ negligence claims.

           As the forum state, Colorado choice-of-law rules apply. Kipling v. State Farm

   Mut. Auto. Ins. Co., 774 F.3d 1306, 1310 (10th Cir. 2014). “In multistate tort

   controversies, tort claims are [ ] analyzed using the most significant relationship test.”

   Sec. Serv. Fed. Credit Union v. First Am. Mortg. Funding, LLC, 861 F. Supp. 2d 1256,

   1269 (D. Colo. 2012). But “a court need not choose which body of law to apply unless

   there is an outcome determinative conflict between the potentially applicable bodies of

   law.” Iskowitz v. Cessna Aircraft Co., 2010 WL 3075476, at *1 (D. Colo. Aug. 5, 2010).

   Where no conflict exists, “the law of the forum is applicable.” Id.; see also SELCO Cmty.

   Credit Union v. Noodles & Co., --- F. Supp. 3d ----, 2017 WL 3116335, at *2 (D. Colo.

   July 21, 2017) (same).

           The three potential state laws applicable to plaintiffs’ negligence claims are New

   Hampshire, where Bellwether is located, Arkansas, where Alcoa is located, and

   Colorado, where Chipotle is located. These states’ application of the economic-loss rule

   do not materially conflict, so no conflict-of-law analysis is required.1 But even if they

   did, Colorado law would apply to plaintiffs’ negligence claims.




   1Bellwether asserts statutory claims under various other state laws. As explained below, Bellwether does
   not have standing to sue under those states’ laws. But even if it did, the minimal connection to those
   states is far outweighed by the connections to Colorado and New Hampshire. Thus, only the substantive
   law of those two states is relevant to determining whether a choice-of-law analysis is needed.


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                  1.     Colorado’s economic-loss rule does not materially conflict
                         with Arkansas or New Hampshire law.

          Under Colorado law, “a party suffering only economic loss from the breach of an

   express or implied contractual duty may not assert a tort claim for such a breach absent

   an independent duty of care under tort law.” BRW, Inc. v. Dufficy & Sons, Inc., 99 P.3d

   66, 72 (Colo. 2004). The Colorado Supreme Court further explained that privity is not

   required. Id. The New Hampshire Supreme Court has likewise held that, absent an

   independent duty, a “plaintiff may not ordinarily recover in a negligence claim for

   purely economic loss.” Plourde Sand & Gravel v. JGI E., Inc., 917 A.2d 1250, 1254

   (N.H. 2007) (quotation omitted). And like Colorado, privity is not required. Id.

          The Arkansas Supreme Court has not been presented with the question of

   whether to adopt the economic-loss rule in a situation similar to that presented to the

   Court. See Bayer CropScience LP v. Schafer, 385 S.W.3d 822, 833 (Ark. 2011)

   (declining to address issue because plaintiffs alleged property damage). Arkansas

   federal courts do not provide clear guidance either. Compare Erdman Co. v. Phoenix

   Land & Acquisition, LLC, 2013 WL 685209, at *2 (W.D. Ark. Feb. 25, 2013) (declining

   to apply economic-loss rule), with Carvin v. Arkansas Power & Light Co., 1991 WL

   540481, at *5 (W.D. Ark. Dec. 2, 1991) (predicting Arkansas would bar purely economic

   losses in tort outside of strict liability context).

          Given that Arkansas is silent, the Court should “assume that the courts of that

   state will follow the weight of authority.” Criqui v. Blaw-Knox Corp., 318 F.2d 811, 812

   (10th Cir. 1963). The weight of authority is consistent with Colorado law. See Noodles &

   Co., 2017 WL 3116335, at *2 (identifying several states applying economic-loss rule

   similar to Colorado); see also State Farm Mut. Auto. Ins. Co. v. Ford Motor Co., 592



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   N.W.2d 201, 208 (Wis. 1999) (expanding economic-loss rule to consumer transactions;

   “The United States Supreme Court, along with a majority of other courts readily adopted

   the economic loss doctrine for commercial transactions to bar tort recovery for purely

   economic loss.”); Aguilar v. RP MRP Washington Harbour, LLC, 98 A.3d 979, 983

   (D.C. 2014) (“We find compelling the reasoning and policy considerations espoused by

   the majority of jurisdictions that have adopted the economic loss doctrine and,

   therefore, adopt the economic loss doctrine in the District of Columbia.”).

                 2.     Colorado has the most significant relationship to
                        plaintiffs’ negligence claims, so it applies regardless.

           For tort actions, the Court must determine which state “has the most significant

   relationship to the occurrence and the parties” by considering: (1) where the injury

   occurred; (2) where the conduct causing the injury occurred; (3) the domicile, residence,

   place of incorporation, and place of business of the parties; and (4) the place where the

   relationship, if any, between the parties is centered. Kipling, 774 F.3d at 1311. As Judge

   Jackson held in Noodles & Co., the “Restatement factors support applying Colorado law

   over the laws of plaintiffs’ home states.” 2017 WL 3116335, at *2 n.1.

          Factors three and four are a wash—the parties are all headquartered in different

   states and have no direct relationship. Thus, the location of the wrongful conduct and

   injury are the two relevant factors. But “[w]hen the injury occurred in two or more

   states, or when the place of injury cannot be ascertained or is fortuitous and, with

   respect to the particular issue, bears little relation to the occurrence and the parties, the

   place where the defendant’s conduct occurred will usually be given particular weight in

   determining the state of the applicable law.” Restatement (Second) of Conflict of Laws §

   145, cmt. e (1971). This principle applies here, and points to Colorado.



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          Plaintiffs and putative class members are banks that suffered financial injuries

   wherever they are located. But those financial injuries bear little relation to the

   occurrence, which is a data security incident in which consumer information was

   allegedly stolen all over the country. In contrast to the location of the alleged injuries,

   plaintiffs allege that the conduct occurred at Chipotle’s corporate headquarters, all

   within a single state—Colorado. (See, e.g., Compl. ¶ 40.)

          Thus, Colorado has the most significant relationship to the negligence claims,

   and should be applied even if the state laws materially conflicted. See Noodles & Co.,

   2017 WL 3116335, at *2 n.1 (“more weight is accorded to the location of this conduct

   than normal because . . . location of these injuries is fortuitous because the Noodles &

   Company customers whose information was compromised could have belonged to

   banks located anywhere in the world”); Veridian Credit Union v. Eddie Bauer, LLC,

   2017 WL 5194975, at *7 (W.D. Wash. Nov. 9, 2017) (applying merchant’s home state’s

   law to issuing bank data security case; “The court gives greater weight to the location of

   the alleged wrongful conduct because the location of the alleged injury is in multiple

   states and is fortuitous.”).

          B.     The economic-loss rule applies to plaintiffs’ negligence claims.

          Under Colorado law, “a party suffering only economic loss from the breach of an

   express or implied contractual duty may not assert a tort claim for such a breach absent

   an independent duty of care under tort law.” BRW, Inc., 99 P.3d at 72. But this does

   not mean that the plaintiff must have a contract claim against the defendant, or even

   that the parties must have contractual privity. The Colorado Supreme Court has instead

   explained that “that the economic loss rule applies when the claimant seeks to remedy

   only an economic loss that arises from interrelated contracts.” Id.; see also Sterling


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   Const. Mgmt., LLC v. Steadfast Ins. Co., 2010 WL 3720064, at *2 (D. Colo. Sept. 12,

   2010) (same); JDB Med., Inc. v. The Sorin Grp., S.p.A., 2008 WL 10580039, at *6 (D.

   Colo. June 11, 2008) (same).

          Judge Jackson recently applied these principles to dismiss identical negligence

   claims brought against Noodles & Company following a 2016 cyberattack on that

   restaurant chain. The court in Noodles & Co. explained that “Visa and MasterCard have

   sets of rules that directly regulate issuing banks and acquiring banks,” and these “rules

   are passed on through issuing banks’ agreements with cardholders and acquiring banks’

   agreements with merchants.” 2017 WL 3116335, at *3. Those rules require “merchants

   like Noodles & Company to abide by certain procedures in handling cardholders’

   financial information.” Id. Because “the duties allegedly breached were contained in

   the network of interrelated contracts,” Judge Jackson dismissed the negligence claims

   under the economic-loss rule. Id. at *5 (quoting BRW, 99 P.3d at 74).

          The same result is appropriate here. Plaintiffs, like the plaintiffs in Noodles &

   Co., allege that “[g]iven the extensive network of financial institutions involved in these

   transactions and the sheer volume of daily transactions using credit and debit cards, it is

   unsurprising that financial institutions and credit card processing companies have

   issued rules and standards governing the basic measures that merchants must take to

   ensure consumers’ valuable data is protected.” (Compl. ¶ 96.) Those rules apply to

   Chipotle, just like they apply to Noodles & Co., through Chipotle’s contract with its

   acquiring bank. (See Visa Rules § 1.10.4.1; MasterCard Sec. Rules & Proc. § 10.1.)

          Also like Noodles & Co., the damages plaintiffs allege are a direct result of their

   contractual relationship with the card brands. Per the card-brand rules, issuing banks




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   agree to hold their customers harmless for fraudulent transactions on payment cards.

   (See Visa Rules § 4.1.13.3; MasterCard Rules § 6.3.) The rules also provide a process

   through which issuing banks may be reimbursed for the losses plaintiffs seek here.

   (Visa Rules § 10.11.1.1; MasterCard Sec. Rules & Proc. § 10.2.5.3.) See also Noodles &

   Co., 2017 WL 3116335, at *5 (“[T]he Visa and MasterCard agreements include

   contractual remedies that may address Noodles & Company’s alleged wrongdoing”).

          In other words, plaintiffs’ alleged harm is the result of a series of determinations

   by several sophisticated commercial entities about how the risk of fraudulent

   transactions should be allocated in the payment-card networks. This framework is an

   exemplar of when the economic-loss rule applies. The rule’s purpose is “to enforce

   expectancy interests of the parties so that they can reliably allocate risks and costs

   during their bargaining” and “to encourage the parties to build the cost considerations

   into the contract because they will not be able to recover economic damages in tort.”

   BRW, 99 P.3d at 72; see also Standard Bank, PLC v. Runge, Inc., 443 F. App’x 347, 353

   (10th Cir. 2011) (rule applies to “relationships [ ] governed by a set of interrelated

   contracts between sophisticated commercial entities, all of which had the opportunity to

   allocate risk and loss through negotiation of their separate contracts”).

          For these reasons, several courts, like Noodles & Co., have barred issuing banks’

   claims under the economic-loss rule. See, e.g., In re TJX Cos. Retail Sec. Breach Litig.,

   564 F.3d 489, 498-99 (1st Cir. 2009); Cumis Ins. Soc’y, Inc. v. BJ’s Wholesale Club,

   Inc., 918 N.E.2d 36, 47 (Mass. 2009); Banknorth, N.A. v. BJ’s Wholesale Club, Inc., 442

   F. Supp. 2d 206, 213 (M.D. Pa. 2006); Sovereign Bank v. BJ’s Wholesale Club, Inc., 533

   F.3d 162, 176-78 (3d Cir. 2008).




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          C.     Plaintiffs’ theory of property damage does not avoid the
                 economic-loss rule.

          Plaintiffs’ complaint also alleges that they suffered property damage. (Compl. ¶¶

   125-127.) They claim that payment-card data is property that is damaged when stolen.

   According to plaintiffs, the data is damaged because they alter it to avoid potential

   fraudulent charges. This theory fails for two reasons, one legal and one factual.

          First, the relevant focus is on the “source of the duty,” not “by evaluating whether

   damages are economic or physical.” Casey v. Colorado Higher Educ. Ins. Benefits All.

   Tr., 310 P.3d 196, 202 (Colo. App. 2012); see also Hamon Contractors, Inc. v. Carter &

   Burgess, Inc., 229 P.3d 282, 290 (Colo. App. 2009) (recognizing that Colorado’s

   economic-loss rule focuses on “the duty that forms the basis of the action”) (quotation

   omitted). Thus, “[d]amages for the cost of repair and replacement of property that were

   the subject of the contract constitute economic loss damages that must be supported by

   an independent duty of care to be recoverable in a negligence action.” Town of Alma v.

   AZCO Const., Inc., 10 P.3d 1256, 1264 (Colo. 2000); see also Wheeler v. T.L. Roofing,

   Inc., 74 P.3d 499, 502 (Colo. App. 2003) (economic-loss rule barred negligence claim to

   “remove and replace” leaky roof). Here, because the source of the duty is contractual,

   plaintiffs’ alleged replacement damages are economic losses.

          Second, plaintiffs’ allegation of property damage is not plausibly supported by the

   facts alleged in the complaint. Chipotle did not physically damage plaintiffs’ property.

   Rather, the cyberattack affected the “security” or “integrity” of their alleged property.

   (Compl. ¶¶ 119-120.) Plaintiffs replaced card numbers “to prevent fraud,” (id. ¶ 122), for

   which they would have had to reimburse their customers per their contractual

   obligation with the card brands (Visa Rules § 4.1.13.3; MasterCard Rules § 6.3). There is



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   no “physical harm” to plaintiffs’ property. Parr v. Triple L & J Corp., 107 P.3d 1104,

   1108 (Colo. App. 2004); see also BRW, 99 P.3d at 72 (same).

          Several courts have thus rejected the argument that an issuing bank suffers

   property damage as a result of a cyberattack at a merchant. The First Circuit in TJX, for

   example, explained that though “data can have value and the value can be lost,” the loss

   “is not a result of physical destruction of property.” In re TJX, 564 F.3d at 498; see also

   Sovereign Bank, 533 F.3d at 179-80 (rejecting property damage argument because the

   “fraudulent transactions had no physical effect on either the cards, the data encoded on

   the cards, or the magnetic-stripe which contained that data”); Cumis Ins., 918 N.E.2d at

   46-47 (same because “damages sought by the plaintiffs in that case, the costs of

   replacing credit cards for compromised accounts, were economic losses”).

          D.     The independent-duty exception does not apply.

          A limited exception to the economic-loss rule applies when the defendant owed

   the plaintiff a duty independent of the contract. An independent duty exists when the

   duty arises from a source other than the relevant contract and the duty is not one also

   imposed by the contract. Makoto USA, Inc. v. Russell, 250 P.3d 625, 627 (Colo. App.

   2009). The duty is not independent if a contract “memorializes it.” Pernick v.

   Computershare Trust Co., Inc., 136 F. Supp. 3d 1247, 1270 (D. Colo. 2015).

   Independent duties can arise from statutory or common law or from the nature of the

   parties’ relationship. Plaintiffs failed to plead any independent duty here.

          Plaintiffs assert in their complaint that the alleged “duty arises from the common

   law and statute and is independent of any duty Chipotle owed as a result of its

   contractual obligations.” (Comp. ¶ 150.) Plaintiffs have cited no common law principle

   or statute that imposes this alleged duty (the FTC Act says nothing about data security


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   as explained below). But even if they had cited some extra-contractual duty, plaintiffs

   fail to invoke the independent-duty exception.

          Simply put, plaintiffs cite contractual duties. Plaintiffs specifically rely on the

   detailed the Payment Card Industry Data Security Standards, known as the PCI DSS,

   which are applicable to Chipotle through its contract with its acquirer. (See Compl. ¶¶

   96-100.) These standards outline Chipotle’s obligation to provide security to customer

   payment-card data, and thus encompass the alleged common law and statutory duty “to

   use and exercise reasonable care in obtaining and processing” this data. (Id. ¶ 150.) See

   also Noodles & Co., 2017 WL 3116335, at *4 (“the PCI DSS appears to flesh out the

   entirety of the more general duties that plaintiffs say Noodles & Company breached”).

   In Noodles & Co., Judge Jackson concluded that the PCI DSS are not independent of the

   interrelated contracts governing the payment-card networks. The facts of this case are

   not materially distinguishable from the facts of Noodles & Co., and this Court should

   apply that same reasoning.

          Nor does the parties’ relationship impose a duty of care on Chipotle outside of the

   payment-card-network contracts. Plaintiffs allege that a “special relationship [ ] existed

   between Chipotle and Plaintiffs.” (Compl. ¶ 156.) But “very few special relationships are

   recognized in Colorado tort law.” Miller v. Bank of New York Mellon, 379 P.3d 342,

   348 (Colo. App. 2016). Even a fiduciary relationship is insufficient to establish a special

   relationship sufficient to create an independent duty of care. See Rice’s Lucky Clover

   Honey, LLC v. Hawley, 700 F. App’x 852, 858 (10th Cir. 2017) (holding that economic-

   loss rule applied despite existence of fiduciary relationship).




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          Merchant/issuing bank is not a special relationship recognized under Colorado

   law. See Logixx Automation, Inc. v. Lawrence Michels Family Tr., 56 P.3d 1224, 1232

   (Colo. App. 2002) (identifying “attorney-client, physician-patient, and insured-insurer”

   as among special relationships recognized under Colorado law). At most, the

   relationship between plaintiffs and a merchant like Chipotle is an arms-length business

   relationship. This relationship is insufficient to establish even a fiduciary relationship,

   let alone the type of relationship necessary to avoid the economic-loss rule. See Walshe

   v. Zabors, 178 F. Supp. 3d 1071, 1083 (D. Colo. 2016) (“Most business relationships . . .

   do not by themselves create fiduciary obligations, and fiduciary obligations should be

   extended reluctantly to commercial or business transactions.” (quotation omitted)).

          Courts in other states have also rejected the position that a merchant and an

   issuing bank are in a “special” or “fiduciary” relationship. For example, the Southern

   District of Illinois rejected a group of issuing banks’ claim that a special relationship

   existed because “financial institutions, and Schnucks as a mid-sized grocer, are both

   ‘sophisticated’ parties who participated in a mutually beneficial business arrangement

   that allowed individuals to use electronic payment cards to purchase their groceries.”

   Cmty. Bank of Trenton v. Schnuck Mkts., Inc., 210 F. Supp. 3d 1022, 1039 (S.D. Ill.

   2016); see also Sovereign Bank v. BJ’s Wholesale Club, Inc., 427 F. Supp. 2d 526, 534

   (M.D. Pa. 2006) (same). The same is true here, and the Court should reject the

   conclusory allegation that a special relationship existed between Chipotle and plaintiffs.

          Plaintiffs’ negligence claims are barred and should be dismissed.




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   III.   Plaintiffs’ Negligence Per Se Claims Also Fail Because Plaintiffs Have
          Not Identified a Statute Intended to Protect Issuing Banks.

          In Colorado, negligence per se occurs when a defendant violates a statute

   “intended to protect against the type of injury [plaintiffs] suffered and that [they are] a

   member of the group of persons the statute was intended to protect.” Silva v. Wilcox,

   223 P.3d 127, 135 (Colo. App. 2009). Plaintiffs failed to make this showing.

          Plaintiffs cite only § 5 of the FTC Act to support their negligence per se theory.

   (See Compl. ¶¶ 163-166.) But § 5 says nothing at all about data security. The statute

   was enacted over 100 years ago, long before credit and debit cards, to say nothing of

   data breaches. See 15 U.S.C. § 45, Credits. It is impossible that the legislative intent in

   passing this law was to establish data security standards.

          Second, plaintiffs are not within the class of persons Congress enacted the statute

   to protect. “Congress, through § 5, charged the FTC with protecting consumers as well

   as competitors.” F.T.C. v. Sperry & Hutchinson Co., 405 U.S. 233, 244 (1972). Plaintiffs

   are neither consumers nor competitors of Chipotle. See Noodles & Co., 2017 WL

   3116335, at *5 n.4 (dismissing negligence per se claim in part because the plaintiff

   issuing banks “are neither Noodles & Company’s consumers nor its competitors”).

   IV.    Misappropriation of Trade Secrets Does Not Apply to the Alleged
          Theft of Payment-Card Data.

          Plaintiffs allege that Chipotle violated the Defend Trade Secrets Act (DTSA) when

   it “misappropriated through unauthorized disclosure Plaintiffs’ and the Class’s

   confidential, proprietary, and trade-secret-protected Payment Card Data.” (Compl.

   ¶ 174.) This statute has no application here. The DTSA is a recently enacted federal

   analogue to state misappropriation of trade secret laws. See Brand Energy &

   Infrastructure Servs., Inc. v. Irex Contracting Grp., 2017 WL 1105648, at *7 (E.D. Pa.


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   Mar. 24, 2017) (“Congress intended the DTSA to apply in substantially the same way as

   the states’ trade secrets laws”). To plead a violation of the DTSA, plaintiffs must allege

   both “the existence of a trade secret” and the “misappropriation of the trade secret by”

   Chipotle. Source Prod. & Equip. Co. v. Schehr, 2017 WL 3721543, at *2 (E.D. La. Aug.

   29, 2017). Plaintiffs satisfy neither element.

          A.     Chipotle did not misappropriate payment-card data; it was
                 stolen from Chipotle.

          Plaintiffs allege they meet the misappropriation element because they have

   alleged an “unauthorized disclosure of Plaintiffs’ . . . trade secrets.” (Compl. ¶ 175.); see

   18 U.S.C. § 1839(5) (misappropriation includes unauthorized “disclosure . . . of a trade

   secret”). But Chipotle did not disclose anything. Rather, plaintiffs allege that a hacker

   stole data from Chipotle. (See, e.g., Compl. ¶ 1.) This does not amount to a “disclosure”

   necessary to establish a misappropriation. Cf. Kewanee Oil Co. v. Bicron Corp., 416

   U.S. 470, 476 (1974) (trade secret law does not protect against “accidental disclosure”).

          Because the DTSA does not define “disclosure,” the Court should look to “its

   common and ordinary usage[, which] may be obtained by reference to a dictionary.” In

   re Overland Park Fin. Corp., 236 F.3d 1246, 1252 (10th Cir. 2001) (quotation omitted).

   Black’s Law Dictionary defines “disclosure” as “[t]he act or process of making known

   something that was previously unknown; a revelation of facts.” Black’s Law Dictionary

   (10th Ed. 2014). Similarly, American Heritage defines “disclosure” as “[t]he act or

   process of revealing or uncovering.” The American Heritage College Dictionary (3d Ed.

   1997). These definitions describe affirmative actions to reveal information. In contrast,

   plaintiffs claim that Chipotle is guilty of “inadequate measures to prevent” a thief from

   stealing information. (See Compl. ¶ 6.)



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          Courts interpreting other statutes requiring a “disclosure” (or similar term) agree

   that “to ‘disclose’ something” means that “the information holder must commit some

   affirmative, voluntary act.” Fero v. Excellus Health Plan, Inc., 236 F. Supp. 3d 735, 783

   (W.D.N.Y. 2017); see also In re Anthem, Inc. Data Breach Litig., 2016 WL 3029783, at

   *40 (N.D. Cal. May 27, 2016) (“disclosure” refers to “situations where information

   holders have willfully provided data to an unauthorized third party”). These courts have

   thus held that “a negligent, and even knowing, release of [information] to unauthorized

   individuals” is not a disclosure. Fero, 236 F. Supp. 3d at 784.

          Courts have also held that the federal government does not violate the Privacy

   Act—which provides that “[n]o agency shall disclose” personal information absent

   consent—when information is stolen by criminal hackers. See In re Dep’t of Veterans

   Affairs (VA) Data Theft Litig., 2007 WL 7621261, at *6 (D.D.C. Nov. 16, 2007) (rejecting

   argument that “failing to safeguard veterans’ personal information” amounted to

   disclosure under privacy act); In re U.S. Office of Pers. Mgmt. Data Sec. Breach Litig., -

   -- F. Supp. 3d ----, 2017 WL 4129193, at *29 (D.D.C. Sept. 19, 2017) (same; “OPM did

   not ‘transmit’ plaintiffs’ information: a third party stole it”).

          Courts have similarly rejected plaintiffs’ attempts to argue that the Fair Credit

   Reporting Act, which precludes consumer-reporting agencies from improperly

   “furnishing” credit information to third parties, applies to cyberattacks. See Tierney v.

   Advocate Health & Hosps. Corp., 2014 WL 5783333, at *3 (N.D. Ill. Sept. 4,

   2014), aff’d, 797 F.3d 449 (7th Cir. 2015); In re Sony Gaming Networks & Customer

   Data Sec. Breach Litig., 996 F. Supp. 2d 942, 1012 (S.D. Cal. 2014); In re Experian Data

   Breach Litig., 2016 WL 7973595, at *2 (C.D. Cal. Dec. 29, 2016); Dolmage v. Combined




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   Ins. Co. of Am., 2015 WL 292947, at *4 (N.D. Ill. Jan. 21, 2015); Willingham v. Glob.

   Payments, Inc., 2013 WL 440702, at *13 (N.D. Ga. Feb. 5, 2013). As one court noted,

   “No coherent understanding of the words ‘furnished’ or ‘transmitted’” could encompass

   information being stolen from the defendant. Holmes v. Countrywide Fin. Corp., 2012

   WL 2873892, at *16 (W.D. Ky. July 12, 2012).

          This same reasoning applies to plaintiffs’ attempt to equate Chipotle’s actions to a

   disclosure. Chipotle did not disclose anything. A thief attacked Chipotle’s systems and

   potentially accessed information.

          B.     Payment-card data is not a trade secret.

          Even if plaintiffs could establish that Chipotle disclosed the data, their claim for

   misappropriation of trade secrets still fails because payment-card data is not a trade

   secret. A trade secret is information that the plaintiff “has taken reasonable measures to

   keep” secret and that “derives independent economic value . . . from not being generally

   known.” 18 U.S.C. § 1839(3). Plaintiffs meet neither requirement.

          First, the random series of numbers on a debit or credit card is not a secret.

   Plaintiffs provide it to their customers who are under no legal obligation to keep this

   information secret. Plaintiffs argue that “the consumer must take steps to maintain the

   secrecy of the financial institutions’ Payment Card Data” and must “notify the financial

   institution if the card is lost or stolen.” (Compl. ¶ 135.) But plaintiffs cite no contract or

   non-disclosure agreement between them and their customers that requires these

   actions. (See id. ¶ 135, fn. 59.)

          This is because card numbers are not, as a general matter, secret. They are used

   by scores of merchants and other purveyors of goods and services on a daily basis.

   Those merchants, in turn, provide the numbers to a variety of other payment processors


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   or financial institutions so that the payments can be processed. Nor do the merchants

   necessarily release the information post-processing. Some merchants, e.g., Amazon,

   hotels, etc., keep the information in their systems—sometimes indefinitely—to facilitate

   repeat purchases. For this reason, payment-card numbers are not a trade secret. See

   also Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1002 (1984) (“If an individual

   discloses his trade secret to others who are under no obligation to protect the

   confidentiality of the information, or otherwise publicly discloses the secret, his

   property right is extinguished.”).

          Nor do plaintiffs explain—save a conclusory allegation (see Compl. ¶ 137)—how

   payment-card data has independent economic value. Using numbers, expiration dates,

   and security codes is industry standard, so it is only the random series of numbers on

   each payment card that plaintiffs allege is a trade secret. But plaintiffs do not argue that

   any particular payment-card number being secret provides plaintiffs with an economic

   advantage against their competitors. See Restatement (Third) of Unfair Competition §

   39 (1995) (“A trade secret must be of sufficient value in the operation of a business or

   other enterprise to provide an actual or potential economic advantage over others who

   do not possess the information.”).

          Instead, plaintiffs’ argument is that a nefarious actor can use stolen payment-

   card data to access something valuable—that is, credit or money in a bank account—

   which in turn allegedly causes them harm. This argument misses the point. There is a

   “difference between information that is kept secret, and secret information that has

   independent economic value.” N. Star Media, LLC v. Winogradsky-Sobel, 2011 WL

   13220157, at *11 (C.D. Cal. May 23, 2011). A secret formula kept in a locked office may




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   be a trade secret but the code locking the office door is not. The code itself has no

   independent economic value, and neither does the random series of numbers assigned

   to any given payment card. See id. (“North Star’s user name and password lack

   independent economic value as they were merely the key that guarded the presumably

   valuable information.”); State Analysis, Inc. v. Am. Fin. Servs. Assoc., 621 F. Supp. 2d

   309, 321 (E.D. Va. 2009) (password not trade secret because it has “no independent

   economic value in the way a formula or a customer list might have.”).

   V.      Plaintiffs’ Consumer-Fraud Claims Should Also Be Dismissed.

           A.      Alcoa fails to allege an “actual financial loss” or an
                   “unconscionable trade practice” under the Arkansas Deceptive
                   Trade Practices Act.

           Alcoa claims that Chipotle violated the Arkansas Deceptive Trade Practices Act

   (ADTPA). Alcoa’s individual claim fails for two reasons.2

           First, Alcoa cannot allege the type of damages necessary to state a claim under

   the statue. Only a “person who suffers an actual financial loss . . . may bring an action to

   recover his or her actual financial loss proximately caused by the offense or violation, as

   defined in this chapter.” Ark. Code Ann. § 4-88-113(f)(1)(A). The term “actual financial

   loss” is defined as “an ascertainable amount of money that is equal to the difference

   between the amount paid by a person for goods or services and the actual market value

   of the goods or services provided to a person.” Ark. Code Ann. § 4-88-102(9). Alcoa

   bought nothing from Chipotle and thus cannot allege “actual financial loss” necessary to

   state a claim under the ADTPA. (See Compl. ¶ 10.)




   2Class relief is unavailable to Alcoa under the ADTPA because Alcoa has not asserted a violation of the
   Arkansas Constitution. Ark. Code. § 4-88-113 (f)(1)(B).


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          Nor does Chipotle’s alleged conduct fall within the type of conduct prohibited by

   the statute. The ADTPA lists 10 types of acts or practices that constitute deceptive and

   unconscionable trade practices. Alcoa relies on subsection 10—the catchall provision—

   which prohibits “[e]ngaging in any other unconscionable . . . act or practice in business,

   commerce, or trade.” Ark. Code. Ann. § 4-88-107(a)(10). This section does not apply.

          In Universal Cooperatives, Inc. v. AAC Flying Serv., Inc., 710 F.3d 790, 795-96

   (8th Cir. 2013), the Eighth Circuit interpreted subsection 10 as limited to “instances of

   false representation, fraud, or the improper use of economic leverage in a trade

   transaction.” The Court rejected the idea that any “allegation of illegal conduct by a

   business automatically states a claim for a violation of the ADTPA.” Id. at 795.

          Alcoa’s complaint alleges that Chipotle adopted and maintained inadequate

   security measures, and that this is against Arkansas’s public policy that businesses

   protect personal and financial information. (Compl. ¶ 189.) This allegation has nothing

   to do with fraud or improper application of economic leverage, and is insufficient to

   establish unconscionable conduct under the ADTPA.

          B.     Bellwether lacks standing to assert all of its consumer-fraud
                 claims except under New Hampshire law—where it is located.

          Plaintiff Bellwether alleges statutory claims under several state’s laws that are not

   New Hampshire, where Bellwether is located. (See Compl. ¶¶ 195-249, 263-272.)

   Bellwether claims it may sue Chipotle under the laws of these states because it has

   customers in these states whose payment cards were allegedly compromised during the

   cyberattack. (See, e.g., id. ¶ 208.)

          This is insufficient to establish standing under those states’ laws. A “plaintiff

   must demonstrate standing for each claim he seeks to press.” DaimlerChrysler Corp. v.



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   Cuno, 547 U.S. 332, 335 (2006). Or as the Tenth Circuit has cautioned, “standing is not

   dispensed in gross.” Colorado Outfitters Ass’n v. Hickenlooper, 823 F.3d 537, 551 (10th

   Cir. 2016). For state statutory claims, this means that the plaintiff must plausibly allege

   an injury occurred in the relevant state. See Smith v. Pizza Hut, Inc., 2011 WL 2791331,

   at *8 (D. Colo. July 14, 2011) (“It is well established that a plaintiff does not have

   standing to allege claims on his own behalf under the laws of states where he has never

   lived or resided because he has not suffered an injury under those laws, nor is he

   protected by those laws.”).

          Bellwether alleges that it suffered economic injuries. It seeks to be reimbursed

   for administrative tasks that it allegedly completed at its New Hampshire headquarters.

   (See Compl. ¶ 9.) This type of injury occurs where it is felt—that is, in New Hampshire.

   See Wyers v. Greenberg Traurig, LLP, 2014 WL 2673594, at *3 (D. Colo. June 13, 2014)

   (location of monetary injury where injury “felt and realized”); Pittway Corp. v.

   Lockheed Aircraft Corp., 641 F.2d 524, 528 (7th Cir. 1981) (where plaintiff has principal

   place of business); In re Syngenta AG MIR 162 Corn Litig., 131 F. Supp. 3d 1177, 1229

   (D. Kan. 2015) (same).

          The sole connection to California, Florida, Maine, Massachusetts, Virginia,

   Vermont, and Wisconsin—the states under whose laws Bellwether seeks to assert

   additional consumer-fraud claims—is that Bellwether mailed a payment card to a person

   who at the time had an address within their borders. (Compl. ¶ 9.) But that mailing and

   the costs allegedly related to it occurred in New Hampshire, not the letters’ ultimate

   destinations. It thus makes no difference for Bellwether’s alleged claim for

   reimbursement that a letter was mailed outside of New Hampshire.




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          Because Bellwether did not suffer an injury in California, Florida, Maine,

   Massachusetts, Virginia, Vermont, and Wisconsin, its claims under those states’ laws

   should be dismissed. See Smith, 2011 WL 2791331, at *10 (holding “that Plaintiff lacks

   standing to bring claims under state laws to which Plaintiff has never been subjected”);

   Thomas v. Metro. Life Ins. Co., 540 F. Supp. 2d 1212, 1226 (W.D. Okla. 2008) (“the

   court’s analysis requires dismissal of any state law claims alleged under the laws of any

   states where a particular named plaintiff is not a resident”).

          C.     Bellwether fails to allege an act or practice covered by New
                 Hampshire’s consumer-protection act.

          Bellwether alleges that Chipotle violated New Hampshire’s consumer-protection

   act because its payment-card security was allegedly inadequate. (Compl. ¶ 254.) The

   Court should dismiss this claim because Chipotle’s alleged conduct is not covered by

   New Hampshire’s consumer-protection act.

          New Hampshire’s consumer-protection act provides that it is “unlawful for any

   person to use any unfair method of competition or any unfair or deceptive act or

   practice in the conduct of any trade or commerce within this state.” N.H. Rev. Stat. §

   358–A:2. It then lists fifteen practices deemed unfair or deceptive. Id. An act or

   practice that is not like “those types of acts” does not violate New Hampshire’s

   consumer protection act. Brzica v. Trustees of Dartmouth Coll., 791 A.2d 990, 996-97

   (NH 2002). In other words, “[f]or conduct not particularized by the CPA to qualify as

   unfair or deceptive, it must be of the same type as that proscribed in the enumerated

   categories.” Universal Am-Can, Ltd. v. CSI-Concrete Sys., Inc., 2012 WL 579167, at *11

   (D.N.H. Feb. 22, 2012) (quotation omitted).




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          Data security is much different from the practices listed. Each practice relates to

   deceptive actions that are aimed at causing a person to purchase a good or service under

   false pretenses, such as “Passing off goods or services as those of another” or

   “Advertising goods or services with intent not to sell them as advertised.” Id.; see also

   In re Clarkeies Mkt., L.L.C., 322 B.R. 487, 497 (Bankr. D.N.H. 2005) (“The types of

   actions as contemplated by the statute relate to goods and services, the sale thereof, the

   quality thereof, the advertising thereof or the false disparagement of another party’s

   goods and services.”).

          Bellwether also must satisfy the “rascality” test to show an unlisted act by a

   defendant falls within the statutory framework. “Under the rascality test, the

   objectionable conduct must attain a level of rascality that would raise an eyebrow of

   someone inured to the rough and tumble of the world of commerce.” George v. Al Hoyt

   & Sons, Inc., 27 A.3d 697, 705 (N.H. 2011). In cases where, as here both parties are

   sophisticated businesses, “it is especially difficult to show rascality.” Orion Seafood

   Int’l, Inc. v. Supreme Grp. B.V., 2012 WL 3765172, at *5 (D.N.H. Aug. 29, 2012)

   (quotation omitted).

          Plaintiffs have alleged Chipotle acted negligently in failing to prevent

   cybercriminals from hacking its systems—conduct similar to scores of other entities that

   have likewise been the victims of these sophisticated cybercriminals. This is not the type

   of knowing or intentional act that rises to the rascality level. See, e.g., Unity Sch. Dist.

   Vaughn Assocs., Inc. v. Excel Mech., Inc., 2017 WL 280695, at *7 (D.N.H. Jan. 20, 2017)

   (“mere negligence . . . does not rise to a level of rascality”); Yost v. US Airways, Inc.,

   2011 WL 1655714, at *3 (D.N.H. May 2, 2011) (same).




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          Bellwether cites the FTC’s current litigation strategy as well as New Hampshire’s

   “public policy that personal and financial information be protected from disclosure.”

   (Compl. ¶¶ 253, 255.) These allegations are irrelevant for several reasons.

          First, the alleged practice must actually fall within the statutory definition and

   meet the rascality test before the Court looks to public policy or how the FTC interprets

   similar provisions under § 5.

          Second, the FTC has never interpreted § 5 to incorporate any specific data

   security standard. Instead, Bellwether relies on “guidelines” for businesses and various

   enforcement actions. (Id. ¶ 110.) And even if these activities could be considered an

   interpretation, the FTC enforcement actions relate to perceived harm suffered by

   consumers. See, e.g., F.T.C. v. Wyndham Worldwide Corp., 799 F.3d 236, 242 (3d Cir.

   2015) (FTC based allegations of unfairness on injury to consumers). These activities

   thus do not suggest that a merchant’s data security practices are unfair vis-à-vis an

   issuing bank.

          Third, the New Hampshire policy plaintiffs cite does not address the data security

   of a merchant, much less the ability of an issuing bank to sue a merchant under the

   consumer protection act. (Compl. ¶ 265.) The statute relates to the “confidential

   relationships between financial institutions and creditors and their respective

   customers[.]” N.H. Rev. Stat. § 359-C:2.I.

          Because Bellwether’s claim is not covered by New Hampshire’s consumer

   protection act, the Court should dismiss Count Nine.




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          D.     Even if Bellwether had standing to assert them, its additional
                 consumer-fraud claims would fail.

                 1.    Bellwether’s California claim should be dismissed because
                       only restitution and injunctive relief are available.

          An action pursuant to California’s unfair competition law “is equitable in nature;

   damages cannot be recovered.” Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th

   1134, 1144 (2003). Thus, Bellwether must plead an entitlement to either restitution or

   injunctive relief to state a claim under this statute. Freeman v. ABC Legal Servs., Inc.,

   877 F. Supp. 2d 919, 926 (N.D. Cal. 2012). It has pleaded neither.

          The California Supreme Court defines restitution as an order “compelling a UCL

   defendant to return money obtained through an unfair business practice to those

   persons in interest from whom the property was taken, that is, to persons who had an

   ownership interest in the property or those claiming through that person.” Korea

   Supply Co., 29 Cal. 4th at 1144-45. Bellwether does not seek to recover property that it

   gave to Chipotle.

          Nor does Bellwether adequately plead a claim for injunctive relief. Bellwether

   lacks standing to sue for injunctive relief unless it can demonstrate a “real and

   immediate threat of repeated injury.” Freeman, 877 F. Supp. 2d at 926 (quoting O’Shea

   v. Littleton, 414 U.S. 488, 496 (1974)). Bellwether does not plausibly plead that

   Chipotle is likely to suffer another data breach that will cause it harm. Whether Chipotle

   will be breached again is speculative, and whether Bellwether specifically will be harmed

   in the event of another breach is even more so. Bellwether’s citation of Chipotle’s 2004

   security incident only proves the point—Bellwether does not allege it was affected by it.

          In short, the mere possibility of future harm is insufficient to establish standing

   to seek injunctive relief. See Freeman, 877 F. Supp. 2d at 927 (failing to plead standing


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   to seek injunctive relief because plaintiffs alleged no facts to show that “they personally”

   faced a “reasonable threat” of unlawful conduct); Cunha v. IntelliCheck, LLC, 254 F.

   Supp. 3d 1124, 1139 (N.D. Cal. 2017) (plaintiff lacked standing to seek injunctive relief

   because he failed to show sufficient likelihood that he would be harmed in the future).

          Because Bellwether fails to plead it is entitled to any relief under California’s

   unfair competition law, count five should be dismissed.

                 2.     Florida’s consumer-fraud statute applies only to in-state
                        consumers suffering diminished value damages.

          “[O]nly in-state consumers can pursue a valid claim under the Unfair Trade Act.”

   Oce Printing Sys. USA, Inc. v. Mailers Data Servs., Inc., 760 So. 2d 1037, 1042 (Fla.

   Dist. Ct. App. 2000); see also Coastal Physician Servs. of Broward Cty., Inc. v. Ortiz,

   764 So. 2d 7, 8 (Fla. Dist. Ct. App. 1999) (same). Some Florida courts have made

   exception to this rule if the allegations “reflect that the offending conduct occurred

   entirely within” Florida. See Millennium Commc’ns & Fulfillment, Inc. v. Office of

   Attorney Gen., Dep’t of Legal Affairs, State of Fla., 761 So. 2d 1256, 1262 (Fla. Dist. Ct.

   App. 2000). The Florida statute Bellwether attempts to sue under does not apply to a

   New Hampshire bank’s claim against a Colorado company where few, if any, of the

   allegations in the complaint actually occurred in Florida.

          Bellwether also cannot allege damages under the Florida statute, which are

   limited to “the difference in the market value of the product or service in the condition

   in which it was delivered and its market value in the condition in which it should have

   been delivered according to the contract of the parties.” Rodriguez v. Recovery

   Performance & Marine, LLC, 38 So. 3d 178, 180 (Fla. Dist. Ct. App. 2010). “Under

   FDUTPA, actual damages do not include consequential damages.” QSGI, Inc. v. IBM



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   Glob. Fin., 2012 WL 13019046, at *5 (S.D. Fla. July 31, 2012). Bellwether cannot allege

   diminished value damages because Chipotle sold nothing to it. Bellwether’s alleged

   damages are instead consequential damages that are not recoverable for alleged

   violations of Florida’s Deceptive and Unfair Trade Practices Act.

                 3.     Maine’s and Vermont’s consumer-fraud statutes apply
                        only to consumers.

          Only a person who “purchases or leases goods, services or property, real or

   personal, primarily for personal, family or household purposes” may sue under Maine’s

   consumer-fraud statute. Me. Rev. Stat. tit. 5, § 213(1). Similarly, Vermont’s consumer-

   fraud statute provides a remedy only for “any consumer” who is injured as a result of a

   violation. 9 V.S.A. § 2461(b).

          Bellwether argues that it is a consumer under Vermont’s statute (not Maine’s)

   because it “pay[s] for services in connection with the operation of [its] business to

   enable [its] members to purchase goods from Chipotle with their payment cards.”

   (Compl. ¶ 264.) But “the Vermont Supreme Court has consistently reaffirmed [its]

   conclusion that a [consumer-fraud] claim may be brought only by one who has actually

   purchased, leased or contracted for the goods or services in question.” Sullivan v.

   Allstate Ins. Co., 2010 WL 3323726, at *7 (D. Vt. Aug. 3, 2010).

          Bellwether did not purchase anything from Chipotle, and thus it cannot assert a

   claim under Vermont’s or Maine’s statute.

                 4.     Bellwether failed to give the required notice under
                        Massachusetts’s Chapter 93A, which only applies to
                        Massachusetts-centered claims in any event.

          Massachusetts’s consumer-fraud statute—Chapter 93A—requires a prospective

   plaintiff to provide at least 30 days’ notice of his or her intent to sue the defendant. See



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   Mass. Gen. Laws ch. 93A, § 9(3). This “requirement is not merely a procedural nicety,

   but, rather, a prerequisite to suit” that “must be alleged in the plaintiff’s complaint.”

   Rodi v. S. New England Sch. Of Law, 389 F.3d 5, 19 (1st Cir. 2004). Bellwether does

   not allege this notice was provided in the complaint, so count eight should be

   dismissed.3

           Even if Bellwether had given appropriate notice, it cannot meet the requirement

   that Chipotle’s alleged unfair practices occurred primarily and substantially in

   Massachusetts. Mass. Gen. Laws ch. 93A, § 11; see also Evergreen Partnering Grp., Inc.

   v. Pactiv Corp., 2014 WL 304070, at *4 (D. Mass. Jan. 28, 2014) (statute requires “the

   center of gravity of the circumstances that give rise to the claim [be] primarily and

   substantially within the Commonwealth”). Bellwether is headquartered in New

   Hampshire and it alleges that Chipotle harmed it through conduct occurring in

   Colorado. The only connection to Massachusetts is Bellwether’s alleged issuance of

   some unidentified number of replacement cards to customers there. That minimal

   connection is insufficient to establish a “center of gravity” in Massachusetts.

   VI.     Count 11 is Not an Independent Cause of Action.

           Plaintiffs’ claim for “Declaratory and Injunctive Relief” states no independent

   cause of action and should be dismissed. See CCPS Transp., LLC v. Sloan, 611 F. App’x

   931, 933 (10th Cir. 2015) (“[H]owever they are pleaded, different remedial requests do

   not make for different claims.”); Savant Homes, Inc. v. Collins, 2015 WL 899302, at *11

   (D. Colo. Feb. 27, 2015) (“[D]eclaratory judgment is a form of relief rather than an

   independent cause of action.”).

   3Bellwether sent Chipotle a demand the day the complaint was filed. This is insufficient. See, e.g.,
   Hansen v. Saxon Mortg. Servs., Inc., 2012 WL 3686448, at *3 (D. Mass. Aug. 23, 2012) (dismissing
   Chapter 93A claim because plaintiff waited only nine days after sending demand letter).


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                                         CONCLUSION

         The Court should dismiss plaintiffs’ complaint with prejudice.

   Dated this 8th day of January, 2018         BAKER & HOSTETLER LLP


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                               CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing MOTION TO DISMISS

   AND BRIEF IN SUPPORT was filed and served via the Court’s electronic case filing

   system on this 8th day of January, 2018, on all counsel of record.




                                            /s/Paul G. Karlsgodt
